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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                v.                             :      Case No. 21-cr-346 (BAH)
                                               :
GLEN MITCHELL SIMON,                           :
                                               :
                             Defendant.:

             UNITED STATES’ EXPLANATION OF POSITION AS TO
     PUBLIC RELEASE OF VIDEOS DESCRIBED IN STATEMENT OF OFFENSE

       The United States of America hereby requests that, at this time, this Court not publicly

release the three videos described in the Statement of Offense accompanying Defendant Glen

Mitchell Simon’s August 6, 2021, plea agreement.      The videos are not judicial records, and, even

if the Court finds that the videos are judicial records, the factors set forth in United States v.

Hubbard do not weigh in favor of releasing these videos at this time.     In support of its motion,

the government states as follows:

                                    FACTUAL BACKGROUND

       Defendant is charged via information with violations of 18 U.S.C. §§ 1752(a)(1) (Entering

and Remaining in a Restricted Building) and (a)(2) (Disorderly and Disruptive Conduct in a

Restricted Building) and 40 U.S.C. §§ 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building)

and (G) (Parading, Demonstrating, or Picketing in a Capitol Building). These charges stem from

the Defendant’s conduct on January 6, 2021, when he participated as part of a collective mob in

the attack on the U.S. Capitol by unlawfully entering the U.S. Capitol building and remaining for

at least 42 minutes.

       Defendant was arrested on May 5, 2021, and was released with specific conditions as set

by the Court.        On May 14, 2021, the Court held the first status hearing in this matter and
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scheduled a second status hearing for June 25, 2021, later continued to September 24, 2021.    On

August 10, 2021, the government notified the Court that Defendant had accepted the government’s

plea offer and requested that the September 24, 2021, status hearing be converted to a change of

plea hearing.   On August 11, 2021, the government sent to the Court the plea documents,

consisting of the plea agreement and a Statement of Offense, a factual proffer that forms the basis

of the plea in the record. On the same date, the Court scheduled the change of plea hearing for

August 18, 2021.      After, the government discovered new evidence, warranting additional

deliberation. The government shared the additional evidence with defense counsel.

        On August 15, 2021, the Court ordered the government to make the video evidence

described in the Statement of Offense available for the Court’s review and ordered both parties to

provide their positions on whether this video evidence may be made publicly available without

restriction. On August 16, 2021, the government filed an unopposed motion for a continuance of

the change of plea hearing based on the newly-discovered evidence.     On the same date, the Court

granted the motion and scheduled the change of plea hearing for October 15, 2021.

        Also on August 16, 2021, the government notified the Court, via email, that it did not

oppose making the videos publicly available but requested that the videos not be made publicly

available until after entry of the plea.   After, the Court requested that the government further

explain its position in a written filing and ordered the government to file its brief by August 20,

2021.    This Explanation responds to the Court’s August 16, 2021, email, requesting the

government further explain its position.

                                           ARGUMENT

        The government does not oppose the eventual public release of the three videos at issue

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but requests that the videos not be made publicly available unless and until the defendant enters a

guilty plea in this case.

        As the case currently stands, the three videos submitted to the Court in response to its Order

directing the government to submit the videos, should not be considered judicial records in this

case and, thus, the common law right of public access to judicial records does not apply.         See

United States v. Hubbard, 650 F.2d 293, 314 (D.C. Cir. 1980) (discussing “this country’s common

law tradition of public access to records of a judicial proceeding”). “[W]hether something is a

judicial record depends on ‘the role it plays in the adjudicatory process.’”     Metlife, Inc. v. Fin.

Stability Oversight Council, 865 F.3d 661, 666 (D.C. Cir. 2017) (quoting SEC v. Am. Int’l Grp.,

712 F.3d 1, 3 (D.C. Cir. 2013)).       A document filed with a court that “can affect a court’s

decisionmaking process,” “which the parties hope to influence the court,” and “upon which the

court must base its decision” is a judicial record. Id. at 666-68.

        These factors do not support a finding that the videos in this case are judicial records. The

government included quotations from the videos in the factual proffer, but it did not attach the

videos as exhibits or attachments to the proffer. The government submitted the videos to the

Court only after ordered to do so by the Court in its August 15, 2021, Minute Order; it did not

proactively submit the videos in the hopes of influencing the Court.     Also, the government is not

requesting that the Court rely on the videos in accepting the plea, and, indeed, the Court need not

rely on the videos to accept the plea. Instead, Defendant is agreeing to the factual proffer set forth

in the Statement of Offense. This factual proffer forms the basis of the plea in the record and

satisfies the elements of the charge to which Defendant may plead guilty. Therefore, although the

Court has requested and received access to the videos, the Court’s request and subsequent review

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of the videos does not in and of itself convert these videos to judicial records.

       If the Court requested the videos under Rule 11(b)(3) of the Federal Rules of Criminal

Procedure, because it was not satisfied that the factual proffer as submitted sufficed to show a

factual basis for the plea, then the government concedes that the Court’s review would convert the

videos into judicial records when the plea occurs. But, before the plea, the videos are not judicial

records, as there has been no judicial decision regarding the videos.    United States v. El-Sayegh,

131 F.3d 158, 162 (D.C. Cir. 1997) (holding that if no “judicial decision . . . occurs, documents

are just documents; with nothing judicial to record, there are no judicial records.”). Thus, under

these circumstances, the videos would become judicial records, and the common-law right of

public access would attach, when the plea is entered.

       Even if the Court requested the videos because it was not satisfied with the factual proffer

and the Court finds that the records become judicial records immediately upon the Court’s review,

disclosure at this time would still not be warranted under the Hubbard test. When considering

whether to seal or unseal judicial records, the D.C. Circuit has recognized the Hubbard test as its

“lodestar.”   Metlife, 865 F.3d at 666.     In Hubbard, the Court of Appeals for the District of

Columbia Circuit considered the appropriateness of unsealing certain documents, thereby making

such documents publicly available.       Hubbard, 650 F.2d at 315-325.        In so doing, the D.C.

Circuit created the Hubbard test, which balances the following factors: “(1) the need for public

access to the documents at issue; (2) the extent of previous public access to the documents; (3) the

fact that someone has objected to disclosure, and the identity of that person; (4) the strength of any

property and privacy interests asserted; (5) the possibility of prejudice to those opposing

disclosure; and (6) the purposes for which the documents were introduced during the judicial

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proceedings.” Leopold v. United States, 964 F.3d 1121, 1131 (D.C. Cir. 2020) (quoting MetLife,

Inc., 865 F.3d at 665).

       Here, the Hubbard factors weigh against public disclosure at this time. There is no need

for public access to the videos at issue while, due to the newly discovered evidence, the

government is still deliberating this matter internally and continuing to discuss a possible

resolution with Defendant. Also, these documents have never been publicly disclosed, and the

Defendant, in a filing dated August 16, 2021, objected to the public release of these videos. Dkt.

26. Finally, neither the government nor Defendant introduced this evidence during the judicial

proceeding. Rather, the government provided the Court access to the videos after ordered to do

by the Court.




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       Thus, the government respectfully requests that, at this time, the Court not publicly release

the three videos that the government described in the Statement of Offense and that the government

provided to the Court pursuant to the Court’s August 15, 2021, Order.

                                             Respectfully submitted,

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